       Case 1:25-cv-10676-BEM         Document 103-1    Filed 05/16/25   Page 1 of 6




                         UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF MASSACHUSETTS


 D.V.D, et al.                                 :
                        Plaintiffs,            :
                                               :
 v.                                            : CIVIL NO.: 2:25-cv-10676-BEM
                                               :
 U.S. Department of Homeland                   :
 Security, et al.                              :
                                               :
                        Defendants.            :
                                               :


                           DECLARATION OF BRIAN ORTEGA

           I, Brian Ortega, declare the following under 28 U.S.C. § 1746, and state that

under penalty of perjury the following is true and correct to the best of my knowledge

and belief:

      1.   I am employed by U.S. Department of Homeland Security (DHS), U.S.

           Immigration and Customs Enforcement (ICE), Enforcement and Removal

           Operations (ERO), as the Assistant Field Office Director (AFOD) for the

           ERO Phoenix Field Office. I have held this position since January 2022.

           Included in my official duties as an AFOD in the ERO Phoenix Field Office

           is the responsibility of assisting in and the managing, monitoring, scheduling,

           and executing removal orders for aliens in ICE custody at the Eloy Detention

           Center in Eloy, Arizona.

                                              1
      Case 1:25-cv-10676-BEM       Document 103-1      Filed 05/16/25   Page 2 of 6



     2. I provide this declaration based on information provided to me in my official

          capacity, reasonable inquiry, and information obtained from various records,

          systems, databases, other DHS employees, and information portals

          maintained and relied upon by DHS in the regular course of business.

     3. I am aware of the above captioned litigation. While preparing this

          declaration, I reviewed information contained in the official records and

          databases maintained by ICE regarding the immigration and custody status

          of the named Plaintiff (O.C.G.).

     4. On March 25, 2025, I signed a declaration that stated: “On or about February

          21, 2025, prior to O.C.G being removed to Mexico, ERO verbally asked

          O.C.G. if he was afraid of being returned to Mexico. At this time, O.C.G.

          stated he was not afraid of returning to Mexico.” ECF No. 31-1 at ¶ 13.

     5.   This statement was based on ICE’s ENFORCE Alien Removal Module 1            0F




          entries indicating that O.C.G. did not fear return to Mexico. See Ex. 1.

     6. Upon further investigation conducted pursuant to the Court’s discovery

          order, ICE was unable to identify an officer or officers who asked O.C.G. if

          he feared a return to Mexico.

     7. At the time I signed my declaration on May 25, 2025, I believed the EARM


1
 ICE’s ENFORCE Alien Removal Module (EARM) is a software tool that provides
an integrated and comprehensive view of an alien’s detention and removal status. The
software permits staff to place comments into each alien’s record regarding the status
of their case, any court updates, or other relevant case information.
                                             2
     Case 1:25-cv-10676-BEM       Document 103-1            Filed 05/16/25        Page 3 of 6



       entries to be accurate.

I declare, under penalty of perjury that the foregoing is true and correct to the best

of my knowledge, information, and belief, as of the time of signature.



Executed this 16th day of May, 2025.

                                                    Digitally signed by BRIAN A
                           BRIAN A ORTEGA ORTEGA
                                          Date: 2025.05.16 14:40:40 -07'00'
                          _____________________________________________

                          Brian Ortega
                          Assistant Field Office Director
                          Enforcement and Removal Operations
                          U.S. Immigration and Customs Enforcement
                          U.S. Department of Homeland Security




                                             3
Case 1:25-cv-10676-BEM   Document 103-1   Filed 05/16/25   Page 4 of 6




                    Exhibit 1
Case 1:25-cv-10676-BEM   Document 103-1   Filed 05/16/25   Page 5 of 6
Case 1:25-cv-10676-BEM   Document 103-1   Filed 05/16/25   Page 6 of 6
